Case 0:23-cv-62179-RKA Document 7-5 Entered on FLSD Docket 11/20/2023 Page 1 of 4




                     ДОГОВОР     PT/US–08/22/66 ОТ «22» АВГУСТА 2022 .

                                                      С А.

  TravelWorks Inc.,       в а              «П      ав     Об а ва       г У                   »
  – а     «П        ав »,                  , С     в в Пав А        в , а            РФ
  0312185556, в а ОУФМС Р              К а     а         а 10.12.2012,                в
   а           "За в   ",   г              , а          а        Д г в
                    :

                                  1. ПРЕДМЕТ ДОГОВОРА.
  1.1.    В               г              б а     в    а          Д г в        За в
         а ,аП        ав       б           в г         а     За в            в
                  в              ав      За в       г      г    в                в
            г             в    б      ав       а         США Аб              аС    в      в
  К           Пав в    17.05.2004 г ,              в а а а           г       г в а
          ав     За в      .

                                  2. ОБ ЗАТЕЛ СТВА СТОРОН
  2.2.     Об а        П     ав
  2.1.1. П        ав    За в                          в                              ав
  П        ав           а         г а          Аб          а.
  2.1.2. П              в           а         Аб          ав      б     ав      , а а    в
  Л       Б      ва     –П                1 а           Д г в     ,в     а в   в
       г а            б г ав          ,             в     а         а   б а ва
       г а    Аб          а             а         в    б      ав        , в         ва
         а            а в        а             в         ав      ав        а          США.
  2.1.3. П        ав         г                                в     США      а
            За в     .
  2.1.4. П        ав           а        -       а               г     в    в     а       а
  Д г в а.

  2.2.   Об а       За в
  2.2.1. За      ва           а    а а а        г      б а   ва             г а       , а         в
  П           1–Л       Б       ва   ,        в                         а          Д г в а.
  2.2.2. П    ав     П      ав      в            ,     а а      вП                 2,
       б                 в          г в    а в                .П                  2 в
               а       Д г в а,        а     б               ав    .
  2.2.3. Св в          в         б       в             а       гП      ав
   б а ва            г а    .

  3. ПОР ДОК В ПОЛНЕНИ ДОГОВОРА И ИНАНСОВ Е ВЗАИМООТНО ЕНИ СТОРОН
  3.1. За в      б       а    г   а                    б а ва
      г а   а ба    б г ав     США в     б         ба в г     в а
   а а            П   ав   в         в , а а    вП         1.
Case 0:23-cv-62179-RKA Document 7-5 Entered on FLSD Docket 11/20/2023 Page 2 of 4
Case 0:23-cv-62179-RKA Document 7-5 Entered on FLSD Docket 11/20/2023 Page 3 of 4




               П                         1 Д              PT/US–08/22/66 ОТ «22» АВГУСТА 2022
                                                     ЛИСТ БРОНИРОВАНИ

    П                   1 в                а         Д г в        а    PT/US–08/22/66        ав                         г
        г     в                  в                            в        б               США                         а
     б а     ва                 г а              а а                                 б     в    б                              ,
      г       а               б    в                      б           ав      ,а а       а а                  в
      а           .

         Т               : аб                    в          а ба Open Hearts Language
        Academy, Miami, FL в               а             а    г а     ба а ав а а в Nova
                           Southeastern University, Fort Lauderdale, FL.


    П    г а      а:                                     University pathway

    Да а а а а           г а         :                   04.11.2022

    С                   г а      :                       24       : 8680 USD
                                                         Р г    а          б – 220 USD
                                                         У б       а     а  – 60 USD
                                                         Ф   а I-20 – 360 USD

                                                         ИТОГО: 9320 USD


    Об а                         г а    а     ва  П                                   1       в                          24
    авг а 2022 г.               б    а     г ба  в г                        в       а а   в       П           ав          ,
      а а   в                   PT/US–08/22/66 а   За в                         .

                                         ОТКАЗ ОТ ПРОГРАММ                  И УДЕРЖАНИ
    1. В          а ,         Аб                                              б          а        -   б
                                в                а   ва               б         а 30 а   а                             а а а
                              г а        , а                 а                 CША, За в                  а
         в   в а              в а                        640 USD.


П            ..… ………/ С          в       в Пав       А        в                                   «22» авг         а 2022 г.
Case 0:23-cv-62179-RKA Document 7-5 Entered on FLSD Docket 11/20/2023 Page 4 of 4
